Case 3:23-cv-00636         Document 134-1              Filed 09/26/24           Page 1 of 2 PageID #: 2164



                           JAMESMARK BUILDING                                                     261 AIKENS CENTER
                           901 QUARRIER STREET  252 GEORGE STREET         2414 CRANBERRY SQUARE   SUITE 301
                           CHARLESTON, WV 25301 BECKLEY, WV 25801         MORGANTOWN, WV 26508    MARTINSBURG, WV 25404

                            PHONE: (304) 344-0100   PHONE: (304) 254-9300 PHONE: (304) 225-2200   PHONE: (304) 260-1200
                            FAX: (304) 342-1545     FAX: (304) 255-5519   FAX: (304) 225-2214     FAX: (304) 260-1208



REPLY TO: Charleston
SENDERS E-MAIL: wgreve@pffwv.com; bvanston@pffwv.com
                www.pffwv.com

                                             August 30, 2024


Kerry Nessel, Esq.
The Nessel Law Firm
418 9th Street
Huntington, WV 25701

Tyler C. Haslam, Esq.
Haslam Law Firm
PO Box 620
Proctorville, OH 45669

        RE:     Hudson, Opal as Administratrix of the Estate Laney Hudson v.
                Cabell County Sheriff’s Department, et al.
                Civil Action No. 3:23-cv-00636
                Claim No. WV0062022020708

Dear Counsel:

       On August 28, 2024, we sent you email correspondence requesting the approval
of an Agreed Protective Order to produce records marked as confidential in this matter.
You response stated, “we agreed to protective order 3-4 months ago our position is the
same so please to court with our acquiescence.”

        We have searched all correspondence and emails from your office and have found
no communications where you agree to a protective order in this case or provide one to
be entered. If you believe you have made such a communication, please forward it to our
office at your earliest convenience.
Case 3:23-cv-00636   Document 134-1     Filed 09/26/24    Page 2 of 2 PageID #: 2165
Kerry Nessel, Esq.
Tyler C. Haslam
August 30, 2023
Page 2


                                      Very truly yours,




                                      Wendy E. Greve, Esq.
                                      Benjamim B. Vanston, Esq.

WEG/jah
